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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 ALAN R. MURPHY,                        )
                                        )
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 UNITED STATES OF AMERICA,              )
                                        )
          Defendant,                    )
 _______________________________________)             Case No. 3:18-CV-2809-E-BK
                                        )
 UNITED STATES OF AMERICA,              )
          Counter-Plaintiff,            )
                                        )
          v.                            )
                                        )
 PAUL DIFRANCESCO, and STANLEY C.       )
 WEINER, PERSONAL REPRESENTATIVE )
 OF THE ESTATE OF STANLEY T. WEINER, )
                                        )
          Counter-Defendants.           )

        SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO WITHDRAW

       COMES NOW, Jason B. Freeman of Freeman Law, PLLC ("Movant"), as undersigned

counsel of record for Counter-Defendant, Stanley C. Weiner, who was appointed by Court Order

dated February 5, 2020 [Doc. No. 49] to serve as “personal representative of the estate of Stanley

T. Weiner for the limited purpose of defending against the United States’ claims in this lawsuit,”

and pursuant to the Court’s Electronic Order dated October 19, 2023 [Doc. No. 108], files this

Supplemental Brief in Support of Motion to Withdraw.

I.     Summary

       The Court should approve Movant’s Motion to Withdraw, as it is supported by good cause

and will not unduly delay or disrupt this lawsuit. Counter-Defendant has ceased to cooperate or
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meaningfully communicate with Movant. Counter-Defendant has failed to follow Movant’s

advice, raising the concern of a potential violation of the Court’s discovery order. And Counter-

Defendant has been in arrears to Movant’s firm since 2022, placing a heavy financial burden on

Movant to continue in this matter.

       The requested withdrawal will not unduly delay or disrupt this lawsuit. This suit has, in

fact, already resulted in a judgment and, at this stage, only involves post-judgment discovery. That

post-judgment discovery can be addressed by Mr. Weiner in his capacity as the personal

representative of the estate generally—it is not necessary that any such discovery be issued to him

in his capacity as a party to the suit. That is, Movant is not necessary to facilitate that post-

judgment discovery. Mr. Weiner is represented by counsel in the estate’s probate and could simply

respond in his capacity as personal representative, generally.

       Finally, the authority cited in the Court’s October 19, 2023 Order [Doc. No. 108] is not

applicable. Movant does not propose that Counter-Defendant serve as the estate’s legal

counsel. While it is true that the estate and representative would not have counsel of record

following a withdrawal, given that no substitute counsel has been identified at this time, such

would be the case for the withdrawal of counsel for any legally-created entity. This Court has, in

other matters, authorized counsel for an entity to withdraw, placing the burden of obtaining new

counsel on the entity.

II.    Stanley C. Weiner’s Status Under This Court’s February 5, 2020 Order

       The Court’s February 5, 2020 Order [Doc. No. 49] appointed Stanley C. Weiner as the

personal representative “for the limited purpose of defending against the United States’ claims in

this lawsuit.” His appointment with respect to this case was expressly limited and has already been

fulfilled. It did not extend to post-judgment discovery. Rather, it was limited to defending against



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the claims in this lawsuit. As such, it is unclear whether Stanley C. Weiner is still serving as

personal representative of the estate in this case pursuant to the Court’s February 5, 2020 Order. If

he is not, Movant may have effectively been dismissed (withdrawn) by operation of law when

Stanley C. Weiner ceased serving in the limited capacity set out in the Court’s February 5, 2020

Order.

         Movant apprises the Court, however, that at the time of the Court’s February 5, 2020 Order,

no probate proceedings were pending (in state court or otherwise) with respect the estate of

Stanley T. Weiner. As such, there was clearly no personal representative of the estate at that time

to defend the estate, absent some order appointing a representative. That absence of a probate-

appointed, general personal representative necessitated the Court’s February 5, 2020 Order [Doc.

No. 49]. Following the February 5, 2020 Order, however, Stanley C. Weiner initiated probate

proceedings for the estate of Stanley T. Weiner in Travis County.1 He was sworn in as independent

administrator of the estate pursuant to those proceedings on May 25, 2022.2 Movant assumes that

Mr. Weiner’s appointment by the probate court provides sufficient authority for his continued role

in this matter, despite the limited scope of his appointment under this Court’s February 5, 2020

Order. Notably, Counter-Defendant appears to be represented by separate counsel with respect to

the probate matter in Travis County.3

         Counsel notes that, when representing a personal representative, counsel represents that

representative personally, rather than the estate.4 As such, technically Movant is not counsel to

the estate, but has served as counsel to Stanley C. Weiner.




1
  Ex. A: Notarized Document Evidencing Stanley C. Weiner’s Appointment as Independent Administrator of the
Estate of Stanley T. Weiner.
2
  Id.
3
  Ex. B: Inventory, Appraisement, and List of Claims Filed in Probate Matter.
4
  See, e.g., ABA Formal Ethics Opinion 94-380; see also Huie v. DeShazo, 922 S.W.2d 920, 926 (Tex. 1996)

                                                    3
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III.    An Attorney is Permitted to Withdraw from a Client Representation in Certain
        Circumstances Involving Good Cause.

        An attorney may withdraw from a client representation in certain circumstances. Texas

law states that “[a]n attorney may withdraw from representation only upon leave of court and a

showing of good cause and reasonable notice to the client.”5 “Whether good cause exists for an

attorney is a question of federal law,” and such question “is answered primarily by referring to the

standards for withdrawal articulated in the national ethics canons and in the ethics rules adopted

by the court.”6 Further, “[the United States District Court for the Northern District of Texas] has

adopted the Texas Disciplinary Rules of Professional Conduct.” 7

        The right to withdraw is, however, tempered where certain factors exist. In this regard,

this Court has stated:

        Even where good cause for withdrawal exists, it is “incumbent on the court to
        assure that the prosecution of the lawsuit before it is not disrupted by
        the withdrawal of counsel.” This requires the court to consider certain additional
        factors before allowing an attorney to withdraw. Those additional factors include:
        (1) the extent to which the attorney's withdrawal will delay or disrupt the case; (2)
        the length of time for which the case and any dispositive motions have been
        pending; (3) the time it would take—and the financial burden it would impose on—
        the client to find new counsel; (4) the financial burden the attorney would suffer if
        not allowed to withdraw; (5) prejudice to the other parties; and (6)
        whether withdrawal will harm the administration of justice.8

        a.       Good Cause Exists as Counter-Defendant Refuses to Communicate with
                 Movant and Has Repeatedly Declined to Follow Movant’s Advice.




5
  See, e.g., Matter of Wynn, 889 F.2d 644, 646 (5th Cir. 1989); see also Tex. R. Civ. Proc. 10.
6
  White v. BAC Home Loans Servicing, LP, 2010 WL 2473833, at *2 (N.D. Tex. 2010) (citing In re American Airlines,
Inc., 972 F.2d 605, 610 (5th Cir. 1992)).
7
  Id. at *2.
8
   Id. at *3 (citing Broughten v. Voss, 634 F.2d 880, 882 (5th Cir. 1981), Johnson v. Cal. Dep’t. of Corr. and
Rehab., 2009 WL 2447705, at *1).

                                                       4
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           Texas Disciplinary Rule of Professional Conduct 1.15(b)(4) states, in relevant part, that a

lawyer may withdraw from representing a client where “a client insists upon pursuing an

objective…with which the lawyer has fundamental disagreement.”9

           Movant’s Motion to Withdraw is founded, in part, on concerns of potential violations of

the Court’s discovery orders. This Court has ordered Counter-Defendant to respond to discovery

requests, most recently via electronic order dated October 19, 2023. Movant has informed

Counter-Defendant on multiple occasions of the requirement, and potential consequences of

failing, to comply with outstanding discovery requests and the Court’s October 19, 2023 Order

[Doc. No. 107]. However, Counter-Defendant has not acted upon Movant’s advice with respect

to pending discovery matters, leading to substantial increased complexity and cost to

Movant. Counter-Defendant has informed Movant that Movant does not represent him any longer

and Movant is not authorized to take actions with respect to the outstanding discovery

matters. Otherwise, Counter-Defendant has failed and refused to communicate with Movant,

rendering further representation impossible. In this regard, professional considerations require

termination of Movant’s representation of Counter-Defendant.

           b.       Good Cause Exists as Counter-Defendant Has Continually Failed to Pay
                    Movant’s Legal Fees.

           Additionally, Texas Disciplinary Rule of Professional Conduct 1.15(b)(5) states that

withdrawal is appropriate where “the client fails to substantially fulfill an obligation to the lawyer

regarding the lawyer’s service, including an obligation to pay the lawyer’s fee as agreed, and has

been given reasonable warning that the lawyer will withdraw unless the obligation is fulfilled.”10

Comment 7 to this rule also provides that “[w]ithdrawal permitted by paragraph (b)(2) through (7)



9
    Tex. Disc. R. Prof. Conduct 1.15(b)(4).
10
     Tex. Disc. R. Prof. Conduct 1.15(b)(5).

                                                    5
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is at the lawyer’s discretion even though the withdrawal may have a material adverse effect upon

the interests of the client.”11

         Federal law also supports an attorney’s right to withdraw for nonpayment of legal fees. In

Capstone Associated Services, Ltd. v. United States, the Court examined an attorney’s motion to

withdraw, which cited outstanding legal fees of $83,416.98.12 The Court stated:

         Although the Federal Circuit has not addressed this issue, several other circuit
         courts of appeals have held that a litigant's failure to fulfill an obligation to its
         lawyer, including to pay attorney fees, is sufficient grounds for withdrawal of
         representation.13
                                                 …

         Withdrawal can be appropriate even if it is “material[ly] adverse” to the interests
         of the client.14

Accordingly, the Court held that the failure to pay legal fees provided sufficient grounds for the

attorney’s motion to withdraw as counsel.

         In this case, Movant’s Motion to Withdraw is similarly appropriate and should be granted.

As of the date of this Supplemental Brief, Counter-Defendant has outstanding legal fees with

Movant totaling $26,508.61, as well as additional unbilled time in excess of $3,000.00. The

nonpayment of Movant’s legal fees by Counter-Defendant dates to early 2022. Since that time,

Movant has provided notice to Counter-Defendant on multiple occasions regarding these

outstanding fees and the potential for its withdrawal as counsel, but to no avail. Movant has made

every attempt to work with Counter-Defendant regarding these fees to fulfill its duty to provide

adequate legal representation. These efforts included offers to discount Counter-Defendant’s




11
   See id. at Comment 7.
12
   Capstone Assoc. Servs, Ltd. v. United States, 23 WL 5624712 (Aug. 31, 2023).
13
   Id. at *3, citing Fid. Nat'l Title Ins. Co. of N.Y. v. Intercounty Nat'l Title Ins. Co., 310 F.3d 537, 541 (7th Cir. 2002),
Brandon v. Blech, 560 F.3d 536, 539 (6th Cir. 2009), and Lieberman v. Polytop Corp., 2 F. App'x 37, 39 (1st Cir.
2001).
14
   Id.

                                                              6
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outstanding legal fees in exchange for payment of the remaining portion. These efforts proved

unsuccessful. Accordingly, Movant’s Motion to Withdraw should be granted, and Movant should

be entitled to withdraw from this matter as counsel.

        c.       Movant’s Withdrawal Will Not Unduly Delay or Disrupt This Case.

        Additionally, Movant’s withdrawal will not unduly delay or disrupt this case. Courts have

applied the following factors in determining whether a withdrawal, even one supported by good

cause, should not be allowed because it will disrupt the prosecution of the lawsuit:

        (1) the extent to which the attorney's withdrawal will delay or disrupt the case; (2)
        the length of time for which the case and any dispositive motions have been
        pending; (3) the time it would take—and the financial burden it would impose on—
        the client to find new counsel; (4) the financial burden the attorney would suffer if
        not allowed to withdraw; (5) prejudice to the other parties; and (6)
        whether withdrawal will harm the administration of justice. 15

        First, the Court should look to the extent to which the attorney’s withdrawal will delay or

disrupt the case. This case was originally filed in 2018. It has, in fact, been concluded and resulted

in a settlement and judgment. All that remains is post-judgment discovery. In that regard, such

discovery can be issued to Counter-Defendant in his capacity as the personal representative of the

estate generally, and Counter-Defendant can respond in such capacity. Movant’s withdrawal will

thus not unduly delay or disrupt the case.

        Second, the Court should look at the length of time for which the case and any dispositive

motions have been pending. The case has been pending for some five years. As stated, it has

already concluded and resulted in a judgment. But the motion at issue has not been pending for a

lengthy period—particularly as compared to the life of the case.




15
  White, 2010 WL 2473833. at *3 (citing Broughten v. Voss, 634 F.2d 880, 882 (5th Cir. 1981), Johnson v. Cal. Dep’t.
of Corr. and Rehab., 2009 WL 2447705, at *1).

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       Third, the Court may next consider the time it would take (and financial burden it would

impose) on the client to find new counsel. Counter-Defendant already has other counsel in a

pending probate matter in Travis County. There is no obvious reason that it would take an unduly

long time (or impose an undue financial burden) on Counter-Defendant to find new counsel.

       Fourth, the Court must look to the financial burden the attorney would suffer if not allowed

to withdraw. In this case, the financial burden on Movant would be heavy. Counter-Defendant

has had outstanding and unpaid fees since 2022. And given that Counter-Defendant has refused

to abide by Movant’s advice on the pending matters, to provide information or documentation to

Movant with respect to those matters, or to provide Movant with the authority to even address

those matters, the financial burden is even more substantial and unjustified.

       Fifth, the Court must consider the prejudice to the other parties. Here, there is no prejudice

to the other parties. The case has already resulted in a judgment, and all that remains is post-

judgment discovery. If Counter-Defendant will not cooperate with Movant or provide responsive

information or documents, Movant cannot undertake an effective representation. Because any

continued representation would be unlikely, at this point, to move pending matters forward, there

could be no prejudice to the other parties from a withdrawal.

       Finally, the Court may look to whether the withdrawal will harm the administration of

justice. This prong is admittedly ambiguous. While it may serve some concept of the

administration of justice to ensure that counsel remains in that capacity—for example, by ensuring

that Counter-Defendant has an advisor and that the Court and parties have an attorney to

communicate with—that will effectively always be the case. But that “pro” is undermined by the

lack of cooperation by Counter-Defendant, impeding Movant’s ability to fulfill his role.

IV.    The Authority Cited in the Court’s Electronic Order Does Not Apply to This Case.



                                                 8
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        The cited authority that does not apply to this case. The October 19, 2023 Order [Doc. No.

108] included three citations to authority purporting to support the notion that Movant should not

be permitted to withdraw as counsel. The authority cited does not support the denial of Movant’s

Motion to Withdraw.

        a.       Rodgers v. Lancaster Police & Fire Dep’t.

        In Rodgers v. Lancaster Police & Fire Dep’t, the plaintiff was the father of a gunshot

victim who sued the shooter and the Lancaster Police Department under Texas’ wrongful death

and survival statutes.16 Among other things, the Rodgers Court considered “whether a pro se

litigant may ever represent an estate in a survival action.”17 Reviewing decisions from other circuit

courts that analyzed a person’s capacity to represent an estate in survival actions, the Rodgers

Court ultimately held that “[a] person with capacity under state law to represent an estate in a

survival action may proceed pro se if that person is the only beneficiary and the estate has no

creditors.”18

        But Movant is not recommending that Counter-Defendant should or would serve as the

attorney to the estate in this matter. Thus, Movant does not believe that Rodgers is applicable here

and concedes that Counter-Defendant would not have the capacity to represent the estate as legal

counsel. Counsel also acknowledges that the court is correct that “[p]ermitting counsel to

withdraw at this time would thus leave the Estate without counsel.” Nonetheless, Movant submits

that the standard for good cause is satisfied here.

        Additionally, this Court has previously permitted the withdrawal of counsel in matters

where the party would be left without representation. In Pharma Funding LLC v. Verde Pharmacy



16
   Rodgers v. Lancaster Police Dep’t., 819 F.3d 205 (5th Cir. 2016).
17
   Id. at 210 (emphasis added).
18
   Id. at 211.

                                                         9
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 & Medical Supply LLC, this Court granted a motion to withdraw submitted by Verde’s counsel. 19

 Although the Court acknowledged that the defendant “[was] not permitted to proceed pro se or

 through a non-attorney but rather must be represented by an attorney in litigation in federal court,”

 the Court placed this burden on the defendant, not its former counsel. 20 The Court did not deny

 counsel’s motion to withdraw, but instead placed the burden on the defendant to find new counsel

 to avoid a default judgment.21

         The Court should apply the same logic here. The mere fact that an estate—like any other

 legally-created entity—can only act through an agent should not, itself, serve as a justification to

 deny a Motion to Withdraw.

         b.      Texas Government Code § 81.053(a)

         Additionally, Texas Gov’t. Code § 81.053(a) does not apply to Movant’s Motion to

 Withdraw, as Counter-Defendant is not a member of the Texas Bar. Texas Gov’t. Code §

 81.053(a) states:

         (a) An inactive member may not practice law in this state, except as provided by
             rule promulgated by the supreme court for volunteer practice, and may not hold
             an office in the state bar or vote in any election conducted by the state bar.

         (b) An emeritus member has all the privileges of membership in the state bar.

         (c) An associate member may not practice law, except as provided by rule
             promulgated by the supreme court, and may not hold office in the state bar or
             vote in any election conducted by the state bar. 22

         This provision refers to the status of certain classes of membership with the Texas State

 Bar: inactive members, emeritus members, and associate members. However, Counter-Defendant




 19
    Pharma Funding LLC v. Verde Pharmacy & Medical Supply LLC, 2022 WL 895056 (N.D. Tex. 2022).
 20
    Id. at *2.
 21
    Id.
 22
    Tex. Gov’t. Code § 81.053(a).

                                                   10
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 is not, and has never been, a member of the Texas Bar. Accordingly, § 81.053 has no applicability

 to Counter-Defendant and does not have any bearing on Movant’s Motion to Withdraw.

            c.       Local Rule 83.8(a)

 Local Rule 83.8(a) of the Northern District of Texas states:

            A member of the bar of this court is subject to suspension or disbarment by the
            court under the following circumstances:

                     (1)      if for any reason other than nonpayment of dues, failure to meet
                              continuing legal education requirements, or voluntary resignation
                              unrelated to a disciplinary proceeding or problem, an attorney loses,
                              either temporarily or permanently, the right to practice law before:

                              (A)    the courts of the State of Texas;

                              (B)    the highest court of any other state or the District of
                                     Columbia; or

                              (C)    (Effective September 1, 2023) any federal court; or

                     (2)      if an attorney fails to maintain the right to practice law before the
                              highest court of at least one state or the District of Columbia, unless
                              the member’s failure to maintain such right results from
                              nonpayment of dues or failure to meet continuing legal education
                              requirements.23

            This rule does not have any apparent connection to Movant’s Motion to Withdraw. Instead,

 this rule lays out a set of circumstances under which a member of the bar may be disciplined.

            For the foregoing reasons, Movant respectfully requests that its Motion to Withdraw as

 Counsel for Counter-Defendant be GRANTED.

                                                             Respectfully submitted,



                                                             By:     _____________________
                                                                     Jason B. Freeman
                                                                     TX Bar # 24069736
                                                                     Freeman Law, PLLC

 23
      N.D. Tex. L. Rule 83.8(a).

                                                        11
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                                 CERTIFICATE OF SERVICE

        I certify that on November 3, 2023, I electronically filed the foregoing Supplemental Brief
 in Support of Motion to Withdraw using the ECF system, which will cause the clerk to serve a
 copy of the document.

                                                     By:     _____________________
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